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 7   Attorneys for Plaintiffs
 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10   MICHAEL DONALYA and JORDAN                       Case No. 4:24-cv-06991-YGR
11   SANDERS, individually and on behalf of all
     others similarly situated,                        NOTICE OF VOLUNTARY DISMISSAL
12                                                     WITH PREJUDICE
                                       Plaintiffs,
13          v.                                        Hon. Yvonne Gonzalez Rogers
14
     FLUMGIO TECHNOLOGY INC.,
15
                                     Defendant.
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     NOTICE OF DISMISSAL WITH PREJUDICE
     CASE NO. 4:24-CV-06991-YGR
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 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs Michael Donalya and
 3   Jordan Sanders hereby voluntarily dismiss with prejudice their claims against Defendant Flumgio
 4   Technology, Inc.
 5

 6   Dated: May 27, 2025                 BURSOR & FISHER, P.A.

 7                                       By:      /s/ L. Timothy Fisher
 8                                       L. Timothy Fisher (State Bar No. 191626)
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                                         Attorneys for Plaintiffs
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     NOTICE OF DISMISSAL WITH PREJUDICE                                                             1
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